       Case 3:18-cv-04571-JD         Document 127-4     Filed 07/24/19   Page 1 of 2



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16   Carnegie Mellon University
17                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                SAN FRANCISCO DIVISION
19
     CARNEGIE MELLON UNIVERSITY,              )
20                                            )       Case No. 3:18-cv-04571-JD
                      Plaintiff,              )
21                                            )       [PROPOSED] ORDER ON
                         v.                   )       ADMINISTRATIVE MOTION FOR
22                                            )       LEAVE TO FILE UNDER SEAL
                                              )
23   LSI CORPORATION and AVAGO                )
     TECHNOLOGIES U.S. INC.,                  )
24                                            )
                      Defendants.             )
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        Case 3:18-cv-04571-JD         Document 127-4          Filed 07/24/19     Page 2 of 2



 1          After full consideration of Plaintiff Carnegie Mellon University’s (“CMU”) Administrative
 2   Motion to File Under Seal, the Court finds good cause exists to seal the following:
 3

 4   Portion of Document to be Sealed             Reasons for Sealing          Citation
 5   CMU’s Corrected Reply in Support of          Civil L.R. 79-5(e);       Verdini Declaration, ¶ 3
     Motion for Leave to Amend Infringement       content that Defendants
 6   Contentions: redacted portions               have designated as
                                                  Highly Confidential
 7
                                                  Attorneys Eyes Only
 8                                                and/or assert is “non-
                                                  public, commercially
 9                                                sensitive and proprietary
                                                  technical information
10                                                pertaining to
                                                  functionalities in
11
                                                  Defendants’ products.”
12

13
            THEREFORE, IT IS HEREBY ORDERED that CMU’s Administrative Motion is
14
     GRANTED. The Clerk of the Court shall file under seal the materials identified in the above chart.
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     IT IS SO ORDERED.
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     Dated: ___________, 2019                     By:
17
                                                            Hon. James Donato
18                                                          U.S. District Court Judge

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     [PROPOSED] ORDER ON ADMINISTRATIVE MOTION                            CASE NO. 3:18-CV-04571-JD
